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EXHIBIT 1B

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%0'°00L |%9'0 %S'0 %9'LE %9'St LAS Leese 86'ce $ LVOL $ soLens $ s6eess $ 90°6re'| S$
%0'°00L  |%9'0 %S'0 %D' bE AIS LAG LBELZ Le 4 460 8°49 Ores 6y'Olb
%0'00L  |%9"°0 %S'0 WILE %9'St LIS vege’ Le esl S‘£90'h g'ses g'8eZ'
%0°001 OVI %0'B WO BL IS'8P - : 629 s8g'e ye'Ze
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%OO0k |%00 %00 WV'VE RV LS We BP 0O'L Pe - - sZes 66'S9 Se'OLt
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%O'OOL 1%0'S VS %0'0E %0'0€ %0'0E bL°SZ 6LE 62 E CL ee CLOG elec
%0'OOL |%Pr'OL vO WE VE RL v9 60°EEh ZBEb év'8 Svcl vic 91°98
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